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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                             ELECTRONICALLY FILED
 KENNETH FERENCE,

              Plaintiff,
                                             No. 2:22-cv-00797-NR-MPK
        vs.
                                             District Judge J. Nicholas Ranjan
                                             Magistrate Judge Maureen P. Kelly
 ROMAN CATHOLIC DIOCESE OF
 GREENSBURG,

              Defendant.
                                             JURY TRIAL DEMANDED

                                        ORDER

      AND NOW, this ____ day of ____________, 2023, upon careful consideration

of the Motion to Exempt Case from Court’s Mandatory Alternative Dispute Resolution

Program, the motion is GRANTED. The Parties are hereby excused from participating

in the Court’s alternative dispute resolution program.



                                         ________________________________
                                         The Honorable Maureen P. Kelly
                                         Magistrate Judge, U.S. District Court
